             Case 11-09462-JJG-7A                                 Doc 297         Filed 07/30/18             EOD 07/30/18 15:29:08                       Pg 1 of 11

                                                               Form 1
                                           Individual Estate Property Record and Report                                                                        Page: 1-1

                                                            Asset Cases
Case No.:    11-09462 JJG                                                                          Trustee Name:      (340480) Michael J. Hebenstreit
Case Name:         BAINS, HARBHUPINDER                                                             Date Filed (f) or Converted (c): 07/26/2011 (f)
                                                                                                   § 341(a) Meeting Date:       09/13/2011
For Period Ending:         06/30/2018                                                              Claims Bar Date:      01/06/2012

                                       1                                   2                      3                      4                    5                     6

                           Asset Description                            Petition/         Estimated Net Value     Property Formally     Sale/Funds             Asset Fully
                (Scheduled And Unscheduled (u) Property)              Unscheduled        (Value Determined By        Abandoned        Received by the       Administered (FA)/
                                                                         Values                 Trustee,             OA=§554(a)           Estate             Gross Value of
                                                                                        Less Liens, Exemptions,       abandon.                              Remaining Assets
  Ref. #                                                                                   and Other Costs)

    1       3655 Pickwick Cir., Plainfield IN 4616 real                 150,000.00                         0.00                                   0.00                           FA
            estate

    2       Cash                                                                 0.00                      0.00                                   0.00                           FA

    3       First National - Checking                                           50.00                      0.00                                   0.00                           FA

    4       Household Goods (Debtor's 112 Interest)                        3,000.00                        0.00                                   0.00                           FA

    5       Books, Pictures, CDs                                                50.00                      0.00                                   0.00                           FA

    6       Clothing                                                           100.00                      0.00                                   0.00                           FA

    7       Debtor is 1.5% Owner of Aohutosh Corp.                         1,386.79                    1,386.79                                   0.00                  1,386.79

    8       2005 Toyota Camry (92,000 Miles)                               6,100.00                        0.00                                   0.00                           FA

    9       Misc. Tools, Lawn Equipment                                        200.00                   200.00                                    0.00                           FA

   10       Funds on hand not disclosed in Petition                              0.00                      0.00                           211,000.00                             FA
            (u)

   11       fraudulent transfers Judgment vs Sandha                              0.00                 Unknown                                41,174.54                           FA
            (u)

   12       Commercial real property consisting of                        Unknown                          0.00                                   0.00              125,000.00
            12.50 acr (u)

   13       Litigation suit pending in Putnam County                      Unknown                          0.00                                   0.00                           FA
            under C (u)

   14       Payments received under Deed of Trust                                0.00                      0.00                           100,496.96                    9,503.04
            (u)

   15       Fraudulent claims action against                                     0.00                 50,000.00                              50,000.00                      0.00
            Rajwinder Kaur (former spouse of
            Debtor) (u)
            This asset is a result of the compromise and settlement
            of the amended judgment entered in Adversary
            Proceeding #12-50171 entered on 9/17/14 against
            Rajwinder Kaur, former wife of the Debtor.


  15        Assets Totals (Excluding unknown values)                   $160,886.79                 $51,586.79                           $402,671.50               $135,889.83
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                                                        Form 1
                                    Individual Estate Property Record and Report                                                     Page: 1-2

                                                     Asset Cases
Case No.:   11-09462 JJG                                                      Trustee Name:      (340480) Michael J. Hebenstreit
Case Name:     BAINS, HARBHUPINDER                                            Date Filed (f) or Converted (c): 07/26/2011 (f)
                                                                              § 341(a) Meeting Date:    09/13/2011
For Period Ending:     06/30/2018                                             Claims Bar Date:     01/06/2012


Major Activities Affecting Case Closing:

                            Bsns Interests
                            06/11/15 EPA filed admin claim , TT counsel objected. Atty is in settlement dicussions with Sangha/St of
                            Washington property Claim. attempting to get settle proposal TRO in place over DJS297 Corp (Kaur's Corp
                            w/owns 2 gas stations + Wendy's. Depo scheduled Levin Special Counsel = moving case forward
                            7/8/15 The EPA filed Admin clm; object. Settlement DIscussions w/Sangha/St of Wash prop clim ; TRO vs
                            DJS297 Corp, depo to be taken
                            7/25/16 R & L obtained judgment in Wash state for payments in litigation there. Ian Goodman reported that
                            he is pursuing receivership of Kauer's other entity; She continued hearing and next heaaring is in August.
                            environmental cleanup company filed admin claim; J Rogers filed response; matter set for hearing Aug 17.
                            7/17/17 filed tax returns for estate; requetsed rompt determination
                            10/2/17 pf atty ; they will try to sell 50% in Vinny corp to adjoining stations; the note from Singh and Kauer
                            is due in Feb 2018. they wiill either need to pay it off by refinancing or we will need to foreclose; in the
                            meantime, they are making payment and Allegro is sending our 50% to us every month
                            05/29/18 - Filed Motion to Employ Accountant Nun Pro Tunc
                            6/16/18-Tax returns filed; waiting on 60 day prompt determination
                            7/17/17 filed fiduciary returns for estate; requested prompt determination; still collecting funds from
                            Washington
Initial Projected Date Of Final Report (TFR): 07/26/2013              Current Projected Date Of Final Report (TFR):     12/26/2018


                     07/30/2018                                                    /s/Michael J. Hebenstreit
                        Date                                                      Michael J. Hebenstreit
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                                                                Form 2
                                                                                                                                                        Page: 2-1
                                                Cash Receipts And Disbursements Record
Case No.:                  11-09462 JJG                                     Trustee Name:                         Michael J. Hebenstreit (340480)
Case Name:                 BAINS, HARBHUPINDER                              Bank Name:                            The Bank of New York Mellon
Taxpayer ID #:             **-***6863                                       Account #:                            **********2666 Checking Account
For Period Ending: 06/30/2018                                               Blanket Bond (per case limit): $1,190,587.50
                                                                            Separate Bond (if applicable): N/A
    1          2                            3                                      4                                   5                   6                     7

  Trans.    Check or          Paid To / Received From          Description of Transaction            Uniform        Deposit           Disbursement       Account Balance
   Date      Ref. #                                                                                 Tran. Code        $                     $

 03/14/12     {10}         Rajwinder Kaur                   Funds on hand as of date of filing      1229-000           11,000.00                                     11,000.00

 03/21/12     {10}         Chase Bank                       undisclosed funds                       1229-000          200,000.00                                 211,000.00

 03/30/12                  The Bank of New York Mellon      Bank and Technology Services            2600-000                                   120.55            210,879.45
                                                            Fee

 04/30/12                  The Bank of New York Mellon      Bank and Technology Services            2600-000                                   417.72            210,461.73
                                                            Fee

 05/31/12                  The Bank of New York Mellon      Bank and Technology Services            2600-000                                   474.45            209,987.28
                                                            Fee

 06/29/12                  The Bank of New York Mellon      Bank and Technology Services            2600-000                                   415.95            209,571.33
                                                            Fee

 07/31/12                  The Bank of New York Mellon      Bank and Technology Services            2600-000                                   458.07            209,113.26
                                                            Fee

 08/31/12                  The Bank of New York Mellon      Bank and Technology Services            2600-000                                   442.79            208,670.47
                                                            Fee

 09/28/12                  The Bank of New York Mellon      Bank and Technology Services            2600-000                                   399.09            208,271.38
                                                            Fee

 10/31/12                  The Bank of New York Mellon      Bank and Technology Services            2600-000                                   469.46            207,801.92
                                                            Fee

 11/30/12                  The Bank of New York Mellon      Bank and Technology Services            2600-000                                   425.82            207,376.10
                                                            Fee

 12/31/12                  The Bank of New York Mellon      Bank and Technology Services            2600-000                                   410.78            206,965.32
                                                            Fee

 01/17/13                  RABOBANK MIGRATION               TRANSFER TO *********8088               9999-000                              206,965.32                        0.00
                           TRANSFER OUT                     20130117

              Account          **********2666 Checking Account
                                  Balance Forward                                      0.00
                       2                    Deposits                        211,000.00                0                    Checks                                    0.00
                       0          Interest Postings                                    0.00          10          Adjustments Out                             4,034.68
                                                Subtotal                    211,000.00                1            Transfers Out                          206,965.32
                       0            Adjustments In                                     0.00                                   Total                       211,000.00
                       0                Transfers In                                   0.00
                                                   Total                    211,000.00


                                                                                              Page Subtotals:       $211,000.00         $211,000.00       true




{ } Asset Reference(s)                                                                                                            ! - transaction has not been cleared
             Case 11-09462-JJG-7A                     Doc 297        Filed 07/30/18          EOD 07/30/18 15:29:08                    Pg 4 of 11

                                                              Form 2
                                                                                                                                          Page: 2-2
                                              Cash Receipts And Disbursements Record
Case No.:              11-09462 JJG                                  Trustee Name:                   Michael J. Hebenstreit (340480)
Case Name:             BAINS, HARBHUPINDER                           Bank Name:                      Rabobank, N.A.
Taxpayer ID #:         **-***6863                                    Account #:                      ******5766 Checking Account
For Period Ending: 06/30/2018                                        Blanket Bond (per case limit): $1,190,587.50
                                                                     Separate Bond (if applicable): N/A
    1          2                          3                                4                               5                 6                     7

  Trans.    Check or        Paid To / Received From      Description of Transaction      Uniform       Deposit         Disbursement        Account Balance
   Date      Ref. #                                                                     Tran. Code       $                   $

 01/18/13                RABOBANK MIGRATION            RABOBANK MIGRATION               9999-000          206,965.32                               206,965.32
                         TRANSFER IN

 01/31/13                Rabobank, N.A.                Bank and Technology Services     2600-000                                 317.49            206,647.83
                                                       Fee

 02/28/13                Rabobank, N.A.                Bank and Technology Services     2600-000                                 277.41            206,370.42
                                                       Fee

 03/29/13                Rabobank, N.A.                Bank and Technology Services     2600-000                                 286.93            206,083.49
                                                       Fee

 04/30/13                Rabobank, N.A.                Bank and Technology Services     2600-000                                 316.18            205,767.31
                                                       Fee

 05/31/13                Rabobank, N.A.                Bank and Technology Services     2600-000                                 305.83            205,461.48
                                                       Fee

 06/28/13                Rabobank, N.A.                Bank and Technology Services     2600-000                                 275.82            205,185.66
                                                       Fee

 07/31/13                Rabobank, N.A.                Bank and Technology Services     2600-000                                 324.64            204,861.02
                                                       Fee

 08/30/13                Rabobank, N.A.                Bank and Technology Services     2600-000                                 294.66            204,566.36
                                                       Fee

 09/30/13                Rabobank, N.A.                Bank and Technology Services     2600-000                                 284.42            204,281.94
                                                       Fee

 10/31/13                Rabobank, N.A.                Bank and Technology Services     2600-000                                 323.23            203,958.71
                                                       Fee

 11/29/13                Rabobank, N.A.                Bank and Technology Services     2600-000                                 273.80            203,684.91
                                                       Fee

 12/31/13                Rabobank, N.A.                Bank and Technology Services     2600-000                                 322.28            203,362.63
                                                       Fee

 01/31/14                Rabobank, N.A.                Bank and Technology Services     2600-000                                 302.25            203,060.38
                                                       Fee

 02/28/14                Rabobank, N.A.                Bank and Technology Services     2600-000                                 272.59            202,787.79
                                                       Fee

 03/31/14                Rabobank, N.A.                Bank and Technology Services     2600-000                                 281.95            202,505.84
                                                       Fee

 04/30/14                Rabobank, N.A.                Bank and Technology Services     2600-000                                 310.71            202,195.13
                                                       Fee

 05/30/14                Rabobank, N.A.                Bank and Technology Services     2600-000                                 290.82            201,904.31
                                                       Fee

 06/30/14                Rabobank, N.A.                Bank and Technology Services     2600-000                                 280.72            201,623.59
                                                       Fee

 07/11/14     {11}       Allegro Escrow Services       PAYMENT PER COURT                1241-000            2,534.78                               204,158.37
                                                       APPROVED AGREEMENT

 07/31/14                Rabobank, N.A.                Bank and Technology Services     2600-000                                 321.09            203,837.28
                                                       Fee

 08/29/14                Rabobank, N.A.                Bank and Technology Services     2600-000                                 283.41            203,553.87
                                                       Fee

                                                                                  Page Subtotals:      $209,500.10          $5,946.23       true


{ } Asset Reference(s)                                                                                              ! - transaction has not been cleared
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                                                              Form 2
                                                                                                                                           Page: 2-3
                                              Cash Receipts And Disbursements Record
Case No.:              11-09462 JJG                                  Trustee Name:                     Michael J. Hebenstreit (340480)
Case Name:             BAINS, HARBHUPINDER                           Bank Name:                        Rabobank, N.A.
Taxpayer ID #:         **-***6863                                    Account #:                        ******5766 Checking Account
For Period Ending: 06/30/2018                                        Blanket Bond (per case limit): $1,190,587.50
                                                                     Separate Bond (if applicable): N/A
    1          2                          3                                 4                               5                 6                     7

  Trans.    Check or        Paid To / Received From      Description of Transaction        Uniform       Deposit         Disbursement       Account Balance
   Date      Ref. #                                                                       Tran. Code       $                   $

 09/30/14                Rabobank, N.A.                Bank and Technology Services       2600-000                                312.30            203,241.57
                                                       Fee

 10/31/14                Rabobank, N.A.                Bank and Technology Services       2600-000                                302.07            202,939.50
                                                       Fee

 11/17/14    10101       Rubin & Levin, PC             Court ApproCourt approved Fees                                        115,199.35                 87,740.15
                                                       and Expenses for Special Counsel
                                                       per Docket 186

                                                       Special Counsel Court Approved     3220-000                                                      87,740.15
                                                       Expenses

                                                                            $30,799.35

                                                       Court approved Fees - Special      3210-000                                                      87,740.15
                                                       Counsel

                                                                            $84,400.00

 11/28/14                Rabobank, N.A.                Bank and Technology Services       2600-000                                218.52                87,521.63
                                                       Fee

 12/04/14     {11}       Rubin & Levin                 Garnishment funds Charles          1241-000              556.74                                  88,078.37
                                                       Schwab acct of Rajwinder Kaur

 12/31/14                Rabobank, N.A.                Bank and Technology Services       2600-000                                143.37                87,935.00
                                                       Fee

 01/30/15                Rabobank, N.A.                Bank and Technology Services       2600-000                                126.48                87,808.52
                                                       Fee

 02/27/15                Rabobank, N.A.                Bank and Technology Services       2600-000                                117.87                87,690.65
                                                       Fee

 03/31/15                Rabobank, N.A.                Bank and Technology Services       2600-000                                134.53                87,556.12
                                                       Fee

 04/30/15                Rabobank, N.A.                Bank and Technology Services       2600-000                                125.93                87,430.19
                                                       Fee

 05/29/15                Rabobank, N.A.                Bank and Technology Services       2600-000                                121.56                87,308.63
                                                       Fee

 06/30/15                Rabobank, N.A.                Bank and Technology Services       2600-000                                133.95                87,174.68
                                                       Fee

 07/31/15                Rabobank, N.A.                Bank and Technology Services       2600-000                                129.56                87,045.12
                                                       Fee

 08/31/15                Rabobank, N.A.                Bank and Technology Services       2600-000                                121.02                86,924.10
                                                       Fee

 09/30/15                Rabobank, N.A.                Bank and Technology Services       2600-000                                133.37                86,790.73
                                                       Fee

 10/30/15                Rabobank, N.A.                Bank and Technology Services       2600-000                                124.83                86,665.90
                                                       Fee

 11/30/15                Rabobank, N.A.                Bank and Technology Services       2600-000                                120.50                86,545.40
                                                       Fee

 12/31/15                Rabobank, N.A.                Bank and Technology Services       2600-000                                136.94                86,408.46
                                                       Fee

 01/29/16                Rabobank, N.A.                Bank and Technology Services       2600-000                                119.82                86,288.64
                                                       Fee

                                                                                   Page Subtotals:           $556.74       $117,821.97       true

{ } Asset Reference(s)                                                                                               ! - transaction has not been cleared
             Case 11-09462-JJG-7A                     Doc 297         Filed 07/30/18            EOD 07/30/18 15:29:08                   Pg 6 of 11

                                                              Form 2
                                                                                                                                            Page: 2-4
                                              Cash Receipts And Disbursements Record
Case No.:              11-09462 JJG                                   Trustee Name:                     Michael J. Hebenstreit (340480)
Case Name:             BAINS, HARBHUPINDER                            Bank Name:                        Rabobank, N.A.
Taxpayer ID #:         **-***6863                                     Account #:                        ******5766 Checking Account
For Period Ending: 06/30/2018                                         Blanket Bond (per case limit): $1,190,587.50
                                                                      Separate Bond (if applicable): N/A
    1          2                          3                                   4                              5                 6                     7

  Trans.    Check or        Paid To / Received From      Description of Transaction         Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                        Tran. Code       $                  $



 03/01/16                Rabobank, N.A.                Bank and Technology Services        2600-000                                119.64                86,169.00
                                                       Fee

 03/28/16     {11}       Allegro Escrow Services       PAYMENT PER COURT                   1241-000          24,702.20                               110,871.20
                                                       APPROVED AGREEMENT

 03/28/16     {11}       Allegro Escrow Services       PAYMENT PER COURT                   1241-000           1,261.41                               112,132.61
                                                       APPROVED AGREEMENT

 03/28/16     {11}       Allegro Escrow Services       PAYMENT PER COURT                   1241-000           1,261.41                               113,394.02
                                                       APPROVED AGREEMENT

 03/28/16     {11}       Allegro Escrow Services       PAYMENT PER COURT                   1241-000           1,261.41                               114,655.43
                                                       APPROVED AGREEMENT

 03/31/16                Rabobank, N.A.                Bank and Technology Services        2600-000                                138.70            114,516.73
                                                       Fee

 04/29/16                Rabobank, N.A.                Bank and Technology Services        2600-000                                158.78            114,357.95
                                                       Fee

 05/16/16     {11}       Allegro Escrow Services       PAYMENT PER COURT                   1241-000           1,261.41                               115,619.36
                                                       APPROVED AGREEMENT

 05/31/16                Rabobank, N.A.                Bank and Technology Services        2600-000                                159.23            115,460.13
                                                       Fee

 06/06/16    10102       STAMPER RUBENS P.S.           Fees & Expenses for Special                                             41,482.45                 73,977.68
                                                       Counsel (Order - Doc. No. 236)

                                                       Special Counsel fees                3210-600                                                      73,977.68

                                                                              $39,627.50

                                                       Special Counsel expenses            3220-610                                                      73,977.68

                                                                               $1,854.95

 06/15/16     {11}       Allegro Escrow Services       PAYMENT PER COURT                   1241-000           1,261.41                                   75,239.09
                                                       APPROVED AGREEMENT

 06/30/16                Rabobank, N.A.                Bank and Technology Services        2600-000                                169.16                75,069.93
                                                       Fee

 07/29/16                Rabobank, N.A.                Bank and Technology Services        2600-000                                104.09                74,965.84
                                                       Fee

 08/04/16     {11}       Allegro Escrow Services       PAYMENT PER COURT                   1241-000           1,261.41                                   76,227.25
                                                       APPROVED AGREEMENT

 08/31/16                Rabobank, N.A.                Bank and Technology Services        2600-000                                119.85                76,107.40
                                                       Fee

 09/02/16     {11}       Allegro Escrow Services       PAYMENT PER COURT                   1241-000           1,261.41                                   77,368.81
                                                       APPROVED AGREEMENT

 09/20/16     {11}       Allegro Escrow Services       PAYMENT PER COURT                   1241-000           1,261.41                                   78,630.22
                                                       APPROVED AGREEMENT

 09/30/16                Rabobank, N.A.                Bank and Technology Services        2600-000                                111.15                78,519.07
                                                       Fee

 10/27/16     {11}       Allegro Escrow Services       PAYMENT PER COURT                   1241-000           1,261.41                                   79,780.48
                                                       APPROVED AGREEMENT

                                                                                    Page Subtotals:        $36,054.89       $42,563.05        true


{ } Asset Reference(s)                                                                                                ! - transaction has not been cleared
             Case 11-09462-JJG-7A                     Doc 297          Filed 07/30/18           EOD 07/30/18 15:29:08                     Pg 7 of 11

                                                              Form 2
                                                                                                                                             Page: 2-5
                                              Cash Receipts And Disbursements Record
Case No.:              11-09462 JJG                                   Trustee Name:                     Michael J. Hebenstreit (340480)
Case Name:             BAINS, HARBHUPINDER                            Bank Name:                        Rabobank, N.A.
Taxpayer ID #:         **-***6863                                     Account #:                        ******5766 Checking Account
For Period Ending: 06/30/2018                                         Blanket Bond (per case limit): $1,190,587.50
                                                                      Separate Bond (if applicable): N/A
    1          2                          3                                  4                               5                  6                     7

  Trans.    Check or        Paid To / Received From       Description of Transaction        Uniform       Deposit          Disbursement       Account Balance
   Date      Ref. #                                                                        Tran. Code       $                    $

 10/31/16                Rabobank, N.A.                Bank and Technology Services        2600-000                                 108.93                79,671.55
                                                       Fee

 11/21/16     {11}       Allegro Escrow Services       PAYMENT PER COURT                   1241-000           1,261.41                                    80,932.96
                                                       APPROVED AGREEMENT

 11/30/16                Rabobank, N.A.                Bank and Technology Services        2600-000                                 122.39                80,810.57
                                                       Fee

 12/19/16     {11}       Allegro Escrow Services       PAYMENT PER COURT                   1241-000              766.75                                   81,577.32
                                                       APPROVED AGREEMENT

 12/19/16     {11}       Allegro Escrow Services       PAYMENT PER COURT                   1241-000              766.72                                   82,344.04
                                                       APPROVED AGREEMENT

 12/19/16     {11}       Allegro Escrow Services       Reversed Deposit 100011 1           1241-000              -766.75                                  81,577.29
                                                       PAYMENT PER COURT
                                                       APPROVED AGREEMENT

 12/30/16                Rabobank, N.A.                Bank and Technology Services        2600-000                                 116.24                81,461.05
                                                       Fee

 01/30/17    10103       Rubin & Levin, PC             Attorney fees - Special Counsel     3210-600                             24,006.50                 57,454.55

 01/31/17                Rabobank, N.A.                Bank and Technology Services        2600-000                                 124.95                57,329.60
                                                       Fee

 02/28/17                Rabobank, N.A.                Bank and Technology Services        2600-000                                  91.92                57,237.68
                                                       Fee

 03/31/17                Rabobank, N.A.                Bank and Technology Services        2600-000                                  85.07                57,152.61
                                                       Fee

 04/28/17                Rabobank, N.A.                Bank and Technology Services        2600-000                                  76.72                57,075.89
                                                       Fee

 05/22/17                Allegro Escrow Services       Acct #1; Payment #0; PAYMENT                           2,742.97                                    59,818.86
                                                       PER COURT APPROVED
                                                       AGREEMENT

              {14}                                     Acct #1; Payment #0; PAYMENT        1221-000                                                       59,818.86
                                                       PER COURT APPROVED
                                                       AGREEMENT

                                                                              $2,742.97

 05/22/17                Allegro Escrow Services       Acct #1; Payment #1; PAYMENT                              630.71                                   60,449.57
                                                       PER COURT APPROVED
                                                       AGREEMENT

              {14}                                     Acct #1; Payment #1; PAYMENT        1221-000                                                       60,449.57
                                                       PER COURT APPROVED
                                                       AGREEMENT

                                                                                 $630.71

 05/31/17                Rabobank, N.A.                Bank and Technology Services        2600-000                                  91.59                60,357.98
                                                       Fee

 06/27/17                Allegro Escrow Services       Acct #1; Payment #2; PAYMENT                              630.71                                   60,988.69
                                                       PER COURT APPROVED
                                                       AGREEMENT

              {14}                                     Acct #1; Payment #2; PAYMENT        1221-000                                                       60,988.69
                                                       PER COURT APPROVED
                                                       AGREEMENT


                                                                                    Page Subtotals:         $6,032.52         $24,824.31       true

{ } Asset Reference(s)                                                                                                 ! - transaction has not been cleared
             Case 11-09462-JJG-7A                      Doc 297           Filed 07/30/18             EOD 07/30/18 15:29:08                    Pg 8 of 11

                                                              Form 2
                                                                                                                                               Page: 2-6
                                              Cash Receipts And Disbursements Record
Case No.:              11-09462 JJG                                     Trustee Name:                       Michael J. Hebenstreit (340480)
Case Name:             BAINS, HARBHUPINDER                              Bank Name:                          Rabobank, N.A.
Taxpayer ID #:         **-***6863                                       Account #:                          ******5766 Checking Account
For Period Ending: 06/30/2018                                           Blanket Bond (per case limit): $1,190,587.50
                                                                        Separate Bond (if applicable): N/A
    1          2                          3                                    4                                 5                 6                    7

  Trans.    Check or         Paid To / Received From       Description of Transaction           Uniform       Deposit         Disbursement      Account Balance
   Date      Ref. #                                                                            Tran. Code       $                   $



                                                                                   $630.71

 06/30/17                Rabobank, N.A.                 Bank and Technology Services           2600-000                                86.87                60,901.82
                                                        Fee

 07/19/17                Allegro Escrow Services        Acct #1; Payment #3; PAYMENT                                 630.71                                 61,532.53
                                                        PER COURT APPROVED
                                                        AGREEMENT

              {14}                                      Acct #1; Payment #3; PAYMENT           1221-000                                                     61,532.53
                                                        PER COURT APPROVED
                                                        AGREEMENT

                                                                                   $630.71

 07/31/17                Rabobank, N.A.                 Bank and Technology Services           2600-000                                84.94                61,447.59
                                                        Fee

 08/25/17                Allegro Escrow Services        Acct #1; Payment #4; PAYMENT                                 630.71                                 62,078.30
                                                        PER COURT APPROVED
                                                        AGREEMENT

              {14}                                      Acct #1; Payment #4; PAYMENT           1221-000                                                     62,078.30
                                                        PER COURT APPROVED
                                                        AGREEMENT

                                                                                   $630.71

 08/31/17                Rabobank, N.A.                 Bank and Technology Services           2600-000                                97.31                61,980.99
                                                        Fee

 09/18/17    10104       STAMPER RUBENS P.S.            Attorney fees for Special Litigation   3210-600                             2,342.50                59,638.49
                                                        Counsel per 9/11/17 Order (Doc
                                                        No. 282)

 09/20/17                Allegro Escrow Services        Acct #1; Payment #5; PAYMENT                                 630.71                                 60,269.20
                                                        PER COURT APPROVED
                                                        AGREEMENT

              {14}                                      Acct #1; Payment #5; PAYMENT           1221-000                                                     60,269.20
                                                        PER COURT APPROVED
                                                        AGREEMENT

                                                                                   $630.71

 09/29/17                Rabobank, N.A.                 Bank and Technology Services           2600-000                                86.38                60,182.82
                                                        Fee

 10/23/17                Allegro Escrow Services        Acct #1; Payment #6 - Payments                               630.71                                 60,813.53
                                                        received under Deed of Trust -
                                                        WA Prop

              {14}                                      Acct #1; Payment #6 - Payments         1221-000                                                     60,813.53
                                                        received under Deed of Trust -
                                                        WA Prop

                                                                                   $630.71

 10/31/17                Rabobank, N.A.                 Bank and Technology Services           2600-000                                93.10                60,720.43
                                                        Fee

 11/10/17    10105       International Sureties, LTD    BOND PREMIUM PAYMENT ON                2300-004                                22.45                60,697.98
                                                        LEDGER BALANCE AS OF
                                                        11/03/2017 FOR CASE #11-
                                                        09462
                                                        Voided on 11/10/2017

                                                                                       Page Subtotals:          $2,522.84         $2,813.55      true


{ } Asset Reference(s)                                                                                                    ! - transaction has not been cleared
             Case 11-09462-JJG-7A                      Doc 297          Filed 07/30/18            EOD 07/30/18 15:29:08                    Pg 9 of 11

                                                              Form 2
                                                                                                                                              Page: 2-7
                                              Cash Receipts And Disbursements Record
Case No.:              11-09462 JJG                                    Trustee Name:                      Michael J. Hebenstreit (340480)
Case Name:             BAINS, HARBHUPINDER                             Bank Name:                         Rabobank, N.A.
Taxpayer ID #:         **-***6863                                      Account #:                         ******5766 Checking Account
For Period Ending: 06/30/2018                                          Blanket Bond (per case limit): $1,190,587.50
                                                                       Separate Bond (if applicable): N/A
    1          2                          3                                   4                                5                 6                     7

  Trans.    Check or         Paid To / Received From       Description of Transaction         Uniform       Deposit         Disbursement       Account Balance
   Date      Ref. #                                                                          Tran. Code       $                   $

 11/10/17    10105       International Sureties, LTD    BOND PREMIUM PAYMENT ON              2300-004                                -22.45                60,720.43
                                                        LEDGER BALANCE AS OF
                                                        11/03/2017 FOR CASE #11-
                                                        09462
                                                        Voided: check issued on
                                                        11/10/2017

 11/17/17                Allegro Escrow Services        Acct #1; Payment #7 - Payments                             630.71                                  61,351.14
                                                        received under Deed of Trust -
                                                        WA prop

              {14}                                      Acct #1; Payment #7 - Payments       1221-000                                                      61,351.14
                                                        received under Deed of Trust -
                                                        WA prop

                                                                                   $630.71

 11/30/17                Rabobank, N.A.                 Bank and Technology Services         2600-000                                 87.63                61,263.51
                                                        Fees

 12/29/17                Rabobank, N.A.                 Bank and Technology Services         2600-000                                 85.17                61,178.34
                                                        Fees

 01/08/18     {14}       Allegro Escrow Services                                             1221-000              630.71                                  61,809.05

 01/30/18     {14}       Allegro Escrow Services                                             1221-000              630.71                                  62,439.76

 01/31/18                Rabobank, N.A.                 Bank and Technology Services         2600-000                                 97.46                62,342.30
                                                        Fees

 02/28/18     {14}       Allegro Escrow Service                                              1221-000              630.71                                  62,973.01

 02/28/18                Rabobank, N.A.                 Bank and Technology Services         2600-000                                 83.69                62,889.32
                                                        Fees

 03/13/18     {14}       Allegro Escrow Services                                             1221-000          91,446.89                               154,336.21

 03/27/18     {15}       Rajkiran Toor                                                       1241-000          50,000.00                               204,336.21

 03/30/18                Rabobank, N.A.                 Bank and Technology Services         2600-000                                165.37            204,170.84
                                                        Fees

 04/26/18    10106       Rubin & Levin, P.C.            Attorney fees for Special Counsel    3210-600                             6,500.00             197,670.84
                                                        (Doc No. 293)

 04/26/18    10107       Rubin & Levin, P.C.            Special Counsel fees and                                                 78,739.33             118,931.51
                                                        expenses (Doc No. 293)

                                                                                             3210-600                                                  118,931.51

                                                                              $69,788.78

                                                                                             3220-610                                                  118,931.51

                                                                               $8,950.55

 04/30/18                Rabobank, N.A.                 Bank and Technology Services         2600-000                                283.88            118,647.63
                                                        Fees

 05/31/18                Rabobank, N.A.                 Bank and Technology Services         2600-000                                200.00            118,447.63
                                                        Fees

 06/29/18                Rabobank, N.A.                 Bank and Technology Services         2600-000                                164.68            118,282.95
                                                        Fees

                                                                                      Page Subtotals:       $143,969.73        $86,384.76       true




{ } Asset Reference(s)                                                                                                  ! - transaction has not been cleared
            Case 11-09462-JJG-7A                         Doc 297       Filed 07/30/18               EOD 07/30/18 15:29:08                  Pg 10 of 11

                                                              Form 2
                                                                                                                                                 Page: 2-8
                                              Cash Receipts And Disbursements Record
Case No.:                  11-09462 JJG                                Trustee Name:                        Michael J. Hebenstreit (340480)
Case Name:                 BAINS, HARBHUPINDER                         Bank Name:                           Rabobank, N.A.
Taxpayer ID #:             **-***6863                                  Account #:                           ******5766 Checking Account
For Period Ending: 06/30/2018                                          Blanket Bond (per case limit): $1,190,587.50
                                                                       Separate Bond (if applicable): N/A
    1          2                          3                                  4                                   5                   6                    7

  Trans.    Check or          Paid To / Received From       Description of Transaction         Uniform        Deposit           Disbursement      Account Balance
   Date      Ref. #                                                                           Tran. Code        $                     $


              Account          ******5766 Checking Account
                                  Balance Forward                                0.00
                   28                      Deposits                     192,438.25              8                    Checks                        268,270.13
                       0          Interest Postings                              0.00          66          Adjustments Out                          12,083.74
                                              Subtotal                  192,438.25              0            Transfers Out                                    0.00
                       1            Adjustments In                         -766.75                                      Total                      280,353.87
                       1                Transfers In                    206,965.32
                                                 Total                  398,636.82


                                                                                        Page Subtotals:               $0.00              $0.00     true




{ } Asset Reference(s)                                                                                                      ! - transaction has not been cleared
            Case 11-09462-JJG-7A                   Doc 297         Filed 07/30/18         EOD 07/30/18 15:29:08                  Pg 11 of 11

                                                       Form 2
                                                                                                                                      Page: 2-9
                                       Cash Receipts And Disbursements Record
Case No.:           11-09462 JJG                                   Trustee Name:                   Michael J. Hebenstreit (340480)
Case Name:          BAINS, HARBHUPINDER                            Bank Name:                      Rabobank, N.A.
Taxpayer ID #:      **-***6863                                     Account #:                      ******5766 Checking Account
For Period Ending: 06/30/2018                                      Blanket Bond (per case limit): $1,190,587.50
                                                                   Separate Bond (if applicable): N/A

                                       Net Receipts:               $402,671.50
                           Plus Gross Adjustments:                        $0.00
                         Less Payments to Debtor:                         $0.00
                 Less Other Noncompensable Items:                         $0.00

                                         Net Estate:               $402,671.50




                                                                                                      NET                      ACCOUNT
                                 TOTAL - ALL ACCOUNTS                           NET DEPOSITS     DISBURSEMENTS                 BALANCES
                                 **********2666 Checking Account                     $211,000.00          $4,034.68                    $0.00

                                 ******5766 Checking Account                         $191,671.50              $280,353.87            $118,282.95

                                                                                     $402,671.50              $284,388.55            $118,282.95
